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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

  JOHN TEMPLE, individually and on behalf             :
  of all others similarly situated,                   :
                                                      :   Case No.: 8:18-cv-176-T-36JSS
        Plaintiff,                                    :
                                                      :
  v.                                                  :
                                                      :
  BEST RATE HOLDINGS, LLC and                         :
  LENDING TREE, INC.                                  :

       Defendants.

       UNOPPOSED MOTION TO EXTEND TIME TO ANSWER OR OTHERWISE
                   RESPOND TO THE COMPLAINT AND
               MEMORANDUM OF LAW IN SUPPORT THEREOF

          Defendants, Best Rate Holdings, LLC (“Best Rate”), and Lending Tree, Inc.

  (“LendingTree”) (collectively “Defendants”), pursuant to Fed. R. Civ. Pr. 6(b) and Local

  Rule 3.01, jointly file this Unopposed Motion for an Extension of Time for Defendants to

  Answer or Other Respond to the Complaint and show as follows:

          1.         Plaintiff John Temple (“Plaintiff”) filed his Complaint with this Court on

  January 22, 2018.

          2.         Defendants were served with Plaintiff’s Complaint, at the earliest, on or about

  January 24, 2018.

          3.         The time in which Defendants must respond to the Complaint has not expired.

          4.         Defendants request an extension of thirty (30) days, or up to and including

  March 16, 2018, in which to answer or otherwise respond to the Complaint. This Motion is

  brought in good faith and not meant for improper delay of this proceeding. Defendants



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  recently retained the undersigned counsel for this action, and Defendants will use the

  additional time to review the allegations in the Complaint and draft any appropriate response.

         5.      Plaintiff’s counsel does not object to the requested extension of time, and the

  Parties have further agreed to extend Plaintiff’s deadline to file his motion for class

  certification by ninety (90) days. Plaintiff’s motion for the same is forthcoming.

         6.      The Parties will not be prejudiced by the extensions.

                                   MEMORANDUM OF LAW

         Pursuant to Federal Rule of Civil Procedure Rule 6(b), the Court, in its discretion,

  may enlarge the period for taking a required or allowed action. Further, the Eleventh Circuit

  has held that a district court can exercise its managerial power to maintain control over its

  docket. See In re Air Crash Disaster at Florida Everglades on Dec. 29, 549 F.2d 1006, 1012

  (5th Cir. 1977). This power is necessary for the court to administer effective justice and

  prevent congestion. Young v. City of Palm Bay, Fla., 358 F.3d 859, 864 (11th Cir. 2004).

         Defendants seek an enlargement of time to allow its recently retained counsel

  adequate time to review the allegations of the Complaint and draft an appropriate response.

  This request is reasonable and is made prior to the expiration of the period prescribed. The

  requested extensions will not unduly delay the course of this litigation. Because Plaintiff

  does not oppose the relief requested herein, no prejudice will result to the Parties.

                                          CONCLUSION

         WHEREFORE, Defendants Best Rate Holdings, LLC, and Lending Tree, Inc.

  respectfully request that this Court enter an Order extending the time within which Best Rate




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  and LendingTree must answer or otherwise respond to Plaintiff’s Complaint by thirty (30)

  days, or until March 16, 2018.

                               RULE 3.01(g) CERTIFICATION

         In accordance with Local Rule 3.01(g), Defendants’ counsel has conferred with

  counsel for Plaintiffs regarding this Motion and represents that they do not object to the relief

  herein requested.



  Respectfully submitted this 7th day of February, 2018.



                                                   /s/ Ethan M. Knott
                                                   Ethan M. Knott
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                                                   and

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                                                   *Pro Hac Vice Application Forthcoming

                                                   COUNSEL FOR DEFENDANTS




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 7th day of February, 2018, I electronically filed the

  foregoing with the Clerk of the Court using the CM/ECF system, which will send notice of

  electronic filing to the following:

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                 Counsel for Plaintiff and the Putative Class

                 *admitted pro hac vice



                                               /s/Ethan M. Knott
                                               Ethan M. Knott




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